Case 4:98-cr-00086-RAS-DDB            Document 96       Filed 04/07/11      Page 1 of 1 PageID #:
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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
 vs.                                             §            Case No. 4:98cr86
                                                 §            (Judge Schell)
FRITZ ALPHONSO OWENS (2)                         §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, this Court having heretofore

referred the request for the revocation of Defendant’s supervised release to the United States

Magistrate Judge for proper consideration. Having received the report of the United States

Magistrate Judge pursuant to its order, and having received Defendant’s waiver of right to object and

waiver of right to be present and speak at sentencing, this Court is of the opinion that the findings

and conclusions of the Magistrate Judge are correct, and adopts same as the findings and conclusions

of the Court. It is therefore,

        ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

It is further

        ORDERED that Defendant’s supervised release is hereby REVOKED. It is further

        ORDERED that Defendant is sentenced to a term of imprisonment of eight (8) months

with no supervised release to follow. The Court recommends that Defendant be housed in the

Bureau of Prisons, Seagoville Unit.

                .   SIGNED this the 6th day of April, 2011.




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                                                           RICHARD A. SCHELL
                                                           UNITED STATES DISTRICT JUDGE
